Case 1:21-cv-03354-BAH Document 44-10 Filed 04/17/23 Page 1of3

EXHIBIT 8
Case 1:21-cv-03354-BAH Document 44-10 Filed 04/17/23 Page 2 of 3

From:
To:

Cc:
Subject:
Date:

Houghton-Larsen, M Annie

Gottlieb, Michael; Governski, Meryi Conant; Knoblett, John Tyler; MacCurdy, Maggie; John Langford
Freeman v. Giuliani - Post Deposition Discovery Issues

Friday, March 3, 2023 4:51:10 PM

Attachments: 2023.03.03 Plaintiffs Fourth Set of Interrogatories. pdf

2022.12.22 Freeman v. Giuliani - December 21. 2022 M&C.ndf
F Sjuliani J 5 90s Meck aad Confer Dink

 

Joe,

Hope you got back to Austin safely. | am writing to follow up on a number of items outstanding
following Mr. Giuliani’s deposition. | have also attached Plaintiffs’ Fourth Set of Interrogatories.

During Mr. Giuliani’s deposition, he agreed to verify his interrogatory responses that he has
not yet verified. Please confirm a date certain that we will do so.

Please provide a date certain by which Mr. Giuliani will amend his interrogatory responses
consistent with his testimony during his deposition.

You had previously represented that Mr. Giuliani would give us authorization to access his
divorce records from Ms. Judith Giuliani. We provided Mr. Giuliani with the authorization
release on Wednesday March 1, 2023. Please provide a date certain by which Mr. Giuliani
will provide us with signed authorization.

During his deposition, Mr. Giuliani testified that information regarding his finances,
specifically the money he makes from his podcasts, is contained within his tax returns since
2020. Please provide a date certain by which he will produce his tax returns since 2020.
Please confirm that the phone number Mr. Giuliani identified during his deposition is his
true and correct phone number. Please confirm that this has been his phone number since
November 2020. If he had a different number or numbers between November 2020 and
now, please provide them. Please provide a date certain by which you will provide this

information. This was the subject of Plaintiffs’ 11" RFP served on May 20, 2022.

Mr. Giuliani testified that he could not recall making any efforts to search his personal
devices, including his phones, social media accounts, email addresses, in response to the
discovery served on him in this case. See also previous correspondence on this attached.
Please provide a detailed plan of what sources Mr. Giuliani plans to search and how in order
to fulfill his discovery obligations. Please provide a date certain by which Mr. Giuliani will
finish production of responsive documents located during this search effort.

Please promptly provide answers to the above. We plan to file a motion to compel shortly and seek
to narrow the scope of issues to bring before the court.

Finally, Mr. Giuliani left his phone charger at our offices. | am happy to have it mailed to him if you
provide an address.

Thanks,

Annie
Case 1:21-cv-03354-BAH Document 44-10

M.Annie Houghton-Larsen

Willkie Farr & Gallagher LLP

787 Seventh Avenue | New York, NY 10019-6099

Direct: +1 212 728 8164 | Fax: +1 212 728 9164
mhoughton-larsen@willkie.com | vCard | www.willkie.com bio
Pronouns: she, her, hers

 

Filed 04/17/23 Page 3 of 3
